Case 2:07-cr-00090-JRG   Document 366 Filed 03/31/09   Page 1 of 6   PageID #:
                                    1029
Case 2:07-cr-00090-JRG   Document 366 Filed 03/31/09   Page 2 of 6   PageID #:
                                    1030
Case 2:07-cr-00090-JRG   Document 366 Filed 03/31/09   Page 3 of 6   PageID #:
                                    1031
Case 2:07-cr-00090-JRG   Document 366 Filed 03/31/09   Page 4 of 6   PageID #:
                                    1032
Case 2:07-cr-00090-JRG   Document 366 Filed 03/31/09   Page 5 of 6   PageID #:
                                    1033
Case 2:07-cr-00090-JRG   Document 366 Filed 03/31/09   Page 6 of 6   PageID #:
                                    1034
